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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
____________________________________________

ERIC BURKE, et al.,

                                      Plaintiffs,
       vs.                                                           5:19-CV-902
                                                                     (MAD/ATB)
BIMBO BAKERIES USA, INC., et al.,

                                      Defendants.

____________________________________________

APPEARANCES:                                         OF COUNSEL:

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Mae A. D'Agostino, U.S. District Judge:

                         MEMORANDUM-DECISION AND ORDER

                                       I. INTRODUCTION

       Plaintiffs Eric Burke, Craig Barker, Rick Calton, Arthur Salisbury, William Cory Tanner,

Brian Tanner, Tony Weaver, Jason Alban, Chris Faust, Frank Roberts, and Randy Sherman

(collectively "Plaintiffs"), on behalf of themselves and other employees similarly situated, bring

this action for alleged violations of the Fair Labor Standards Act ("FLSA"), 29 U.S.C. § 201 et
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seq. See Dkt. No. 16 at 11–14; Dkt. No. 31.1 On November 15, 2019, the Court dismissed

Counts II, III, and IV of Plaintiffs' amended complaint, which were claims arising under the New

York Labor Law ("NYLL"). See Dkt. No. 25.

       Currently before the Court is Plaintiffs' motion to transfer venue to the Southern District of

New York. See Dkt. No. 53. Defendants Bimbo Foods Bakeries Distribution, LLC ("BFBD")

and Bimbo Bakeries USA, Inc. ("BBUSA") (collectively "Defendants") oppose the motion. See

Dkt. No. 55. For the reasons set forth below, Plaintiffs' motion is granted.

                                       II. BACKGROUND

       Plaintiffs, on behalf of themselves and other employees similarly situated, commenced this

action on July 23, 2019, with the filing of a complaint. See Dkt. No. 1. Since the initial filing of

the complaint, additional individuals have opted-in to this case under the FLSA. On October 4,

2019, Defendants filed a partial motion to dismiss, seeking, among other things, dismissal based

on the first-filed rule. See Dkt. No. 19. On November 15, 2019, this Court issued a

Memorandum-Decision and Order dismissing Plaintiffs' state law claims under the first-filed rule

because of a pending Southern District of New York class action. See generally Dkt. No. 25;

Puello v. Bimbo Foods Bakeries Distribution, No. 17-cv-4481 (S.D.N.Y.) (Halpern, J.) ("Puello"),

Dkt. No. 1 at 1.

       On December 12, 2019, Plaintiffs filed a motion seeking clarification of this Court's Order

dismissing Plaintiffs' state law claims. See Dkt. No. 28. Defendants filed no response. On

December 16, 2019, this Court denied Plaintiffs' motion, stating "clarification as to the propriety



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        Plaintiffs Jason Alban, Chris Faust, John Fisher, Steve Hazelton, Frank Roberts, and
Randy Sherman were added as Plaintiffs pursuant to a joint stipulation and order on December 13,
2019. See Dkt. No. 31. The claims of Plaintiffs John Fisher and Steve Hazelton were dismissed
without prejudice pursuant to a stipulation and order on April 28, 2020. See Dkt. No. 58.
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as to any claims newly filed in the Southern District of New York is now under the purview of the

assigned Judge in the Southern District of New York." Dkt. No. 32. Plaintiffs subsequently re-

filed their state law claims in the Southern District of New York, where the first-filed Puello case

was pending. See Burke v. Bimbo Bakeries USA, Inc., No. 19-11101 (S.D.N.Y.) (Karas, J.)

("SDNY Burke"), Dkt. No. 1. On March 9, 2020, the Honorable Kenneth M. Karas held a pre-

motion conference with the parties. See SDNY Burke, Dkt. No. 19. Defendants contend that

Judge Karas determined Defendants could only move for dismissal of Plaintiffs' Fair Play Act

class claims on the basis of the first-filed rule, and other grounds for dismissal were premature.

See Dkt. No. 55 at 5 n.3. Plaintiffs contend that during this conference, "Defendants

acknowledged for the first time that the Southern District of New York was the proper forum for

the named Plaintiffs' individual state law claims to proceed, that Defendants would not seek

complete dismissal of those claims, and that Defendants instead only intended to seek dismissal of

the class allegations in the Southern District Burke matter." Dkt. No. 53-1 at 2 (emphasis in

original). On March 23, 2020, Defendants filed a partial motion to dismiss Plaintiffs' Fair Play

Act class claims on the basis of the first-filed rule. See SDNY Burke, Dkt. No. 20.

       Plaintiffs' surviving claims involve individual claims under the FLSA asserting that

Defendants failed to pay overtime wages to Plaintiffs. See Dkt. No. 16 at ¶¶ 50–65. On February

18, 2020, Plaintiffs moved to dismiss Defendants' counterclaims and third-party complaints. See

Dkt. No. 50. On March 25, 2020, Plaintiffs moved to transfer venue to the Southern District of

New York. See Dkt. No. 53.

                                        III. DISCUSSION

       Plaintiffs argue that this action should be transferred to the United States District Court for

the Southern District of New York pursuant to 28 U.S.C. § 1404(a). See Dkt. No. 53. Plaintiffs

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assert a venue transfer is in the interests of justice, and is appropriate to avoid duplicative

discovery, motion practice, and fact-finding. See id. Defendants disagree, arguing Plaintiffs have

not demonstrated a change of circumstance that would warrant a transfer, the interests of justice

do not support a transfer, and transfer would not be more convenient for key witnesses. See Dkt.

No. 55.

          Under 28 U.S.C. § 1404(a), "for the convenience of parties and witnesses, in the interest of

justice, a district court may transfer any civil action to any other district or division where it might

have been brought, or to any district or division to which all parties have consented." 28 U.S.C. §

1404(a). This section, "reflects an increased desire to have federal civil suits tried in the federal

system at the place called for in the particular case by considerations of convenience and justice . .

. To this end it empowers a district court to transfer any 'civil action' to another district court if

the transfer is warranted by the convenience of parties and witnesses and promotes the interest of

justice." Van Dusen v. Barrack, 376 U.S. 612, 616 (1964). "'[M]otions for transfer lie within the

broad discretion of the district court and are determined upon notions of convenience and fairness

on a case-by-case basis.'" View 360 Solutions, LLC v. Google, Inc., No. 1:12-CV-1352, 2013 WL

998379, *1 (N.D.N.Y. Mar. 13, 2013) (quoting In re Cuyahoga Equip. Corp., 980 F.2d 110, 117

(2d Cir. 1992)) (citation omitted).

          In considering a motion to transfer venue, the Court must determine: "(1) whether the

action sought to be transferred is one that 'might have been brought' in the transferee court; and (2)

whether, considering the 'convenience of parties and witnesses,' and the interests of justice, a

transfer is appropriate." Litton v. Avomex, Inc., No. 08-CV-1340, 2010 WL 160121, *13

(N.D.N.Y. Jan. 14, 2010) (quotation omitted). The moving party has the burden of proving a §

1404(a) venue transfer meets these elements. See id. (citation omitted).

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        1. Whether the action might have been brought

        "'To decide whether an action might have been brought in the proposed transferee forum,

the court must first determine whether the defendants are subject to personal jurisdiction in that

forum, and whether venue would properly lie there.'" United Rentals (North America) Inc. v.

Conti Enterprises, Inc., No. 3:15-cv-298, 2015 WL 7257864, *7 (D. Conn. Nov. 17, 2015)

(quotation omitted). There no question that Defendants are subject to personal jurisdiction in

New York (an issue they have not contested) given their extensive business within the state, as

evidenced by both this action and those pending in the Southern District of New York.

        It is equally clear that venue would properly lie in the Southern District of New York.

Pursuant to 28 U.S.C. § 1391, venue lies, inter alia, in "a judicial district in which any defendant

resides, if all defendants are residents of the State in which the district is located[.]" 28 U.S.C. §

1391(b)(1). "For all venue purposes ... an entity with the capacity to sue and be sued in its

common name under applicable law, whether or not incorporated, shall be deemed to reside, if a

defendant, in any judicial district in which such defendant is subject to the court's personal

jurisdiction with respect to the civil action in question and, if a plaintiff, only in the judicial

district in which it maintains its principal place of business[.]" 28 U.S.C. § 1391(c)(2).

        Here, having found that Defendants are subject to personal jurisdiction in both the

Southern and Northern Districts of New York, venue is appropriate in either district. See

Travelers Property Casualty Co. of Am. v. Ocean Reef Charters, LLC, 324 F. Supp. 3d 366, 376

(W.D.N.Y. 2018) (finding that the federal venue statute recognizes that an appropriate venue may

be any judicial district where various types of business entities are subject to personal jurisdiction)

(citing cases). As such, the Court finds that this action could have been brought in the Southern

District of New York.

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       2. Plaintiffs moving to transfer venue: a change in circumstance

       "While unusual, it is not unknown for a plaintiff to seek relief under Section 1404(a); and

there are no policy reasons that militate against such a motion." Harry Rich Corp. v.

Curtiss–Wright Corp., 308 F. Supp. 1114, 1118 (S.D.N.Y. 1969) (collecting cases); see also Atl.

Mut. Ins. Co. v. CSX EXPEDITION, No. 00–CV–7668, 2003 WL 21756414, *2 (S.D.N.Y. July

30, 2003) (noting that a plaintiff's motion to transfer under 1404(a) is "unusual, but not unique").

However, "[b]ecause a plaintiff has already had the opportunity to choose the forum when filing

the action," courts in this Circuit have historically required plaintiffs "to demonstrate a 'change in

circumstances' that has taken place since the filing of suit in order to prevail." Atl. Mut. Ins. Co.,

2003 WL 21756414, at *2 (collecting cases). The "usual presumptions as to a plaintiffs choice of

forum are not appropriate" in this posture. Trehern v. OMI Corp., No. 98–CV–0242, 1999 WL

47303,*2 (S.D.N.Y. Feb. 1, 1999).

       "Courts assessing this threshold question in plaintiffs' motions to transfer have required

plaintiffs to identify a new development that 'warrants transferring the action to the transferee

forum.'" United States ex rel. Fisher v. Bank of America, N.A., 204 F. Supp. 3d 618, 623

(S.D.N.Y. 2016) (quoting Ferrostaal, Inc. v. Union Pacific R. Co., 109 F. Supp. 2d 146, 151

(S.D.N.Y. 2000)). "This change must have 'taken place since the filing of [the] suit.'" Id. (quoting

Harem–Christensen Corp. v. M. S. Frigo Harmony, 477 F. Supp. 694, 698 (S.D.N.Y. 1979)).

"Circumstances that were 'known or should have been known to plaintiff long before the lawsuit'

accordingly will not support a plaintiff's motion to transfer." United States ex rel. Fisher, 204 F.

Supp. 3d at 623 (quoting Ferrostaal, Inc. v. M/V EAGLE, No. 02–CV–1887, 2003 WL 21496689,

*2 (S.D.N.Y. June 30, 2003)).

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        Courts in this Circuit have also found that "a showing of changed circumstances is not

required if transfer is in the interests of justice," particularly where there would be severe

prejudice to a plaintiff. Posven, C.A. v. Liberty Mut. Ins. Co., 303 F. Supp. 2d 391, 407

(S.D.N.Y. 2004) (collecting cases); see also U.S. ex rel. Smith v. Yale University, No

3:02CV1205, 2006 WL 1168446, *2 (D. Conn. Apr. 28, 2006) ("Although courts have held that

the threshold question when deciding a plaintiff's § 1404(a) motion to transfer is whether plaintiff

has shown a change in circumstance since the complaint was filed sufficient to warrant transfer,

an action may also be transferred if it is in the interest of justice to do so, even if Plaintiff can

show no change in circumstances justifying transfer") (internal citations and quotation marks

omitted). Indeed, "avoid[ing] the burden and expense of duplicative actions is in the interest of

justice." Posven, 303 F. Supp. 2d at 391.

        Defendants argue that there has been no change in circumstances that would warrant a

transfer of Plaintiffs' individual FLSA claims to the Southern District of New York. See Dkt. No.

55 at 7–11. Defendants allege that whether "Plaintiffs' individual state law claims may proceed

beyond the pleading stage in Burke SDNY or here does not constitute any change in

circumstance." Id. at 9. Defendants further state that "it strains the bounds of reality for Plaintiffs

to claim that they only recently learned that Defendants would not challenge their individual state

law claims on the basis of the first-filed rule." Id. at 8. However, in both this Court and SDNY

Burke, Defendants sought to dismiss all state law claims. See, e.g., Dkt. No. 19-1 at 22–23

(arguing that "State Law Claims Should Be Dismissed Pursuant to the First-Filed Rule" because

"[t]he two actions substantially overlap: the Defendants are the same; the Burke class is enveloped

by the Puello class; and identical state law claims are asserted and turn on determinations as to the



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contractor/employee status of the same individuals based on many of the same factual assertions

of Defendants' alleged control over Plaintiffs and their putative classes").

        Furthermore, Defendants' pre-motion letter to Judge Karas, the presiding judge over the

Burke SDNY case, does request a pre-motion conference in anticipation of Defendants' "proposed

motion to dismiss Plaintiffs' Complaint (ECF No. 1) in its entirety." Dkt. No. 53-2 at 1–2

(emphasis added) (arguing that "Plaintiffs' claims should be dismissed given that the same claims

are already pending against Defendants in the first-filed Puello Action . . . just as they were by the

Court in the NDNY Burke Action"). Thus, when Judge Karas determined that Defendants could

only move for dismissal of Plaintiffs' Fair Play Act class claims on the basis of the first-filed rule,

see Dkt. No. 55 at 5, it is not straining the bounds of reality to consider this as the first time

Plaintiffs might have known that some of their state law claims would survive, at least for the

moment. Moreover, given that this Court granted Defendants leave to move for dismissal of all

the state law claims, any decision of Judge Karas to limit the scope of Defendants' motion could

not have been known to Plaintiffs prior to their motion to transfer venue. See United States ex rel.

Fisher, 204 F. Supp. 3d at 623.2 Indeed, Plaintiffs filed their motion to transfer venue on March




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          Defendants cite to United States ex rel. Fisher v. Bank of America, 204 F. Supp. 3d 618
(S.D.N.Y. 2016) in support of the argument that "Plaintiffs' failed gambles are not the sort of
change of circumstance that should be rewarded by this Court." Dkt. No. 55 at 10. However, for
the reasons above, the Court finds that the changed circumstances were not known or should have
been known to Plaintiffs at the time they filed this action. Furthermore, the primary changed
circumstance in United States ex rel. Fisher, in the court's view, was convenience for counsel,
which is not an appropriate factor considered in assessing a motion for transfer. United States ex
rel. Fisher, 204 F. Supp. 3d at 626 (internal citation omitted). Moreover, that case "is less
analogous to the line of cases granting transfer where plaintiffs encounter developments that make
a different venue . . . significantly more desirable (for efficiency purposes)." Id. As explained in
further detail below, the developments of this action, as well as SDNY Burke, make the Southern
District of New York significantly more desirable for efficiency purposes.
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25, 2020, soon after Judge Karas made his determination on March 9, 2020. See Dkt. No. 55 at 5;

Dkt. No. 53.

       Accordingly, the Court finds that there has been a change in circumstances warranting

transfer. Even if the Court were to find that the development in SDNY Burke did not amount to a

change in circumstance, Plaintiffs also assert that transfer is warranted because transferring the

case is in the interests of justice. Accordingly, the Court will address the relevant factors under

section 1404(a).

       3. Whether the convenience of parties and witnesses and the interests of justice make
       transfer is appropriate

       To determine whether a transfer to the Southern District of New York is appropriate

considering the convenience of parties and witnesses and the interests of justice, the Court must

weigh the following factors:

               (1) the plaintiff's choice of forum, (2) the convenience of the
               witnesses, (3) the location of relevant documents and relative ease
               of access to sources of proof, (4) the convenience of parties, (5) the
               locus of operative facts, (6) the availability of process to compel the
               attendance of unwilling witnesses, and (7) the relative means of the
               parties.

D.H. Blair & Co. v. Gottdiener, 462 F.3d 95, 106–07 (2d Cir. 2006) (citing Albert Fadem Trust v.

Duke Energy Corp., 214 F. Supp. 2d 341, 343 (S.D.N.Y. 2002)). There is no strict formula for

the application of these factors. See, e.g., Indian Harbor Ins. Co. v. Factory Mut. Ins. Co., 419 F.

Supp. 2d 395, 402 (S.D.N.Y. 2005); Andrews v. A.C. Roman & Assocs., Inc., 914 F. Supp. 2d 230,

237 (N.D.N.Y. 2012). Instead, the Court will balance these factors to determine the appropriate

forum. See Emplrs. Ins. v. Fox Entm't Grp., Inc., 522 F.3d 271, 275 (2d Cir. 2008).

               a. Plaintiff's choice of forum



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        "When it is the plaintiff, rather than the defendant, who moves to transfer a case to another

forum, 'the usual presumptions as to plaintiff's choice of forum are not appropriate.'" United

Rentals (North America) Inc. v. Conti Enters., Inc., No. 3:15-CV-298, 2015 WL 7257864, *5 (D.

Conn. Nov. 17, 2015) (quoting Trehern v. OMI Corp., No. 98 Civ. 0242, 1999 WL 47303, *2

(S.D.N.Y. Feb. 1, 1999)). Accordingly, this factor can be disregarded as neutral. See, e.g., United

Rentals (North America) Inc., 2015 WL 7257864, at *5 (citing Universal Marine Med. Supply,

Inc. v. Lovecchio, No. 09-CV-3495, 1999 WL 441680, *3 (E.D.N.Y. May 7, 1999)).

        The Court will briefly address Defendants' contention that Plaintiffs are forum shopping.

Defendants contend that "[t]he course of this litigation – and, in particular, Plaintiffs' failed

opposition to Defendants' Motion to Dismiss in the present case – unmistakenly leads to the

conclusion that Plaintiffs are forum shopping." Dkt. No. 55 at 11. Defendants allege that this is

underscored by the request to transfer this matter before ruling on Plaintiffs' pending motion to

dismiss. See id. Defendants further allege that Plaintiffs' motion to transfer is "driven by

perceptions of the [SDNY Burke] Court's favorability . . . ." Id. at 12. This Court is not persuaded

by Defendants' position. Defendants moved to dismiss Plaintiffs' state law claims because of the

pending Puello case in the Southern District of New York; in a footnote, Defendants observed this

case could also be transferred in lieu of dismissal (but did not fully brief a motion to transfer

venue). See Dkt. No. 19-1 at 22 n.12. This Court subsequently granted the motion to dismiss.

See Dkt. No. 25. Plaintiffs re-filed their state law claims in the Southern District of New York,

the location of the Puello case, which Defendants claimed was the first-filed case (and this Court

agreed). See SDNY Burke, Dkt. No. 1. Upon learning that some of Plaintiffs' claims would

survive the motion to dismiss stage, Plaintiffs sought to transfer the remaining claims in this

action to the Southern District of New York. This Court finds that Defendants' characterization of

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the decision of Judge Karas that one of Defendants' grounds for a motion to dismiss was

premature is not a statement on the merits of a motion to dismiss or the ultimate merits of the

action itself; furthermore, as Plaintiffs state, "[n]either Judge Karas nor this Court has issued any

decision on the merits of any claims, defenses, or counterclaims asserted in these two cases . . . ."

Dkt. No. 56 at 6. As such, the Court finds that Defendants' concerns of forum shopping are

unwarranted.

       Thus, the Court finds that this factor remains neutral.

               b. Convenience of witnesses

       The convenience of witnesses, both party and nonparty, is one of the most important

factors in determining whether to transfer venue. See, e.g., Litton, 2010 WL 160121, at *14;

Hernandez v. Graebel Van Lines, 761 F. Supp. 983, 988 (E.D.N.Y. 1991). To satisfy this factor,

movants must provide detailed factual statements of "potential principal witnesses expected to be

called and a general statement of the substance of their testimony." Hernandez, 761 F. Supp. at

987. It is not enough for a party to list witnesses living near the forum without enumerating the

importance of their testimony. See Litton, 2010 WL 160121, at *14 (citing Kwartra v. MCI, Inc.,

No. 96 Civ. 2491, 1996 WL 694444, *2 (S.D.N.Y. 1996)).

       Defendants contend that all of the relevant witnesses are located in the Northern District of

New York, and thus, this factor weighs strongly against a discretionary transfer to the Southern

District of New York. See Dkt. No. 55 at 13. However, the Court finds that the inconvenience

that would be present for all witnesses favors transfer. Namely, all witnesses would have to travel

both to the Southern District of New York and to the Northern District of New York as SDNY

Burke will continue, even if Defendants are successful on their motion to dismiss currently

pending before Judge Karas. Therefore, this factor weighs in favor of a transfer in the analysis.

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See Cali v. East Coast Aviation Servs., Ltd., 178 F. Supp. 2d 276, 297 (E.D.N.Y. 2001); Miner v.

Altria Grp., Inc., No. 05-cv-2018, 2006 WL 6870504, *1 (W.D. Ark. Jan. 23, 2006) ("This slight

inconvenience is outweighed by the possibility that if the case is not transferred, [parties] face

having their witnesses deposed and called to testify twice, producing discovery twice, and

litigating the same facts and issues twice").

               c. Location of sources of proof

       Unlike the convenience of witnesses, the location of relevant documents is given little

weight in determining whether venue transfer is appropriate. See Litton, 2010 WL 160121, at *16

(citing Aerotel Ltd. v. Sprint Corp., 100 F. Supp. 2d 189, 197 (S.D.N.Y. 2000)). A party must

demonstrate whether obtaining documents would be a burden without transfer. See id. (citing

Oubre v. Clinical Supplies Mgmt., Inc., No. 05 Civ. 2062, 2005 WL 3077654, *3 (S.D.N.Y. Nov.

17, 2005)). While Defendants claim that this Court should deny Plaintiffs' motion because,

among others reasons, "all of the documents at the distribution centers and customer locations" are

in the Northern District of New York, Dkt. No. 55 at 13, "'[m]odern photocopying technology and

electronic storage deprive this issue of practic[al] or legal weight.'" United Rentals (North

America) Inc., 2015 WL 7257864, at *9 (quoting MAK Mktg., Inc. v. Kalapos, 620 F. Supp. 2d

295, 310 (D. Conn. 2009)). Accordingly, this factor is neutral. Id.

               d. Convenience of the parties

       As to whether the convenience of the parties favors transfer, the Court first looks to the

residence of the parties, and then ensures an order of transfer would not simply switch the burden

of inconvenience from one party to another. See Hernandez, 761 F. Supp. at 988 (citations and

quotations omitted).



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        Defendants BBUSA and BBFD are corporations with principal places of business in

Horsham, Pennsylvania. See Dkt. No. 33 at ¶¶ 10, 11. Viewing the entire circumstances, since

both Defendants are not New York residents, there would be little or no difference of convenience

to them personally if the case remained the Northern District of New York or the Southern

District of New York. Accordingly, this factor favors transfer, as the transfer would not switch

the burden of inconvenience from Plaintiffs to Defendants. See Hernandez, 761 F. Supp. at 988.

                e. Locus of operative events

        In considering where the operative events occurred, the Court considers whether a cause of

action arises from claims of alleged wrongdoing in the proposed transferee district. See Sheet

Metal Workers' Nat'l Pension Fund v. Gallagher, 669 F. Supp. 88, 92–93 (S.D.N.Y. 1987).

"Transfer is not precluded where the operative facts have some connection to the initial forum if

the transferee district has a stronger connection with the operative facts raised in the pleadings."

View 360 Solutions, LLC, 2013 WL 998379, at *5 (citing Sheet Metal Workers' Nat'l Pension

Fund, 669 F. Supp. at 92–93).

        Defendants allege that, "because Plaintiffs purchased and picked up Bimbo-branded

products from the distribution centers in Watertown and Canton, New York, and sold those

products to their customers in surrounding areas, this judicial district is home to all of the

operative facts. . . ." Dkt. No. 55 at 13. Plaintiffs do not dispute Defendants' assertions in this

regard but maintain that other factors weigh more heavily in their favor. Thus, this factor weighs

against transfer.

                f. Ability of the transferee court to compel unwilling witnesses

        "'In determining whether a change of venue is appropriate, the Court will . . . examine the

ability to compel the attendance of witnesses.'" View 360 Solutions LLC., 2013 WL 998379, at *6

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(quoting Neil Bros. Ltd. v. World Wide Lines, Inc., 425 F. Supp. 2d 325, 332–33 (E.D.N.Y.

2006)). A district court can compel the attendance of witnesses within the district or within one

hundred miles of the place specified in the subpoena. See Fed. R. Civ. P. 45(b)(2).

       Neither party has made a showing with respect to this factor sufficient to favor either

forum over the other. Defendants did not provide any affidavits of potential witnesses stating that

such witnesses would not appear if the action was transferred to the Southern District of New

York. Likewise, Plaintiffs failed to provide any affidavits of potential witnesses stating that they

would not appear if the action remained in the Northern District of New York. Thus, this factor is

neutral. Neil Bros. Ltd., 425 F. Supp. 2d at 332.

               g. Relative means of the parties

       When there is a financial disparity between parties, the Court may consider their relative

means to determine whether transfer is appropriate. See Hernandez, 761 F. Supp. at 989. "In

determining whether the relative means of the parties weighs in favor of transfer, 'a court should

determine whether a party's financial situation would meaningfully impede its ability to litigate

this case in either forum.'" AIG Fin. Prods. Corp. v. Public Utility Dist. No. 1 of Snohomish

County, Wash., 675 F. Supp. 2d 354, 372 (S.D.N.Y. 2009) (quoting Truk Int'l Fund v. Wehlmann,

No. 08 Civ. 8462, 2009 WL 1456650, *7 (S.D.N.Y. May 20, 2009)) (quotation marks omitted).

Yet "where proof of such disparity is not adequately provided, or does not exist, this is not a

significant factor to be considered." American Eagle Outfitters, Inc. v. Tala Bros. Corp., 457 F.

Supp. 2d 474, 478 (S.D.N.Y. 2006). Neither party has provided any evidence that their financial

situation would meaningfully impede their ability to litigate this case in the Southern District of

New York. See Fteja v. Facebook, Inc., 841 F. Supp. 2d 829, 844 (S.D.N.Y. 2012) (citing AIG

Fin. Prods. Corp., 675 F. Supp. 2d at 372). "Since '[t]he relative economic ability of the parties to

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proceed with a case has rarely been a dispositive reason to grant or deny a venue change' but is

instead 'but one of several factors for the court to consider,' it makes little sense to reject transfer

on a ground [the party opposing transfer] has not advanced and where the Court has no evidence

in a case where essentially all the other factors weigh in favor of transfer." Id. (quoting Kolko v.

Holiday Inns, Inc., 672 F. Supp. 713, 716 (S.D.N.Y. 1987)). Thus, this factor is neutral.

                h. Calendar congestion

        "Although certainly not decisive, docket conditions or calendar congestion of both the

transferee and transferor districts is a proper factor and is accorded some weight." Miller v.

Bombardier Inc., No. 93 CIV. 0376, 1993 WL 378585, *5 (S.D.N.Y. Sept. 23, 1993) (citing

Gibbs & Hill, Inc. v. Harbert Int'l Inc., 745 F. Supp. 993, 996 (S.D.N.Y. 1990); Hernandez, 761

F. Supp. at 991; Foster v. Litton Indus. Inc., 431 F. Supp 86, 88 (S.D.N.Y. 1977)). Defendants

point out the number of pending cases in the Northern District of New York and the Southern

District of New York to convince the Court not to transfer this matter. See Dkt. No. 55 at 14.

However, one data point the Court finds to be relevant is that the median time of a civil case, from

filing to trial, is 31.1 months in the Southern District of New York and 41.4 months in the

Northern District of New York. See U.S. District Courts - Combined Civil and Criminal

Management Federal Court Management Statistics (December 31, 2019),

https://www.uscourts.gov/statistics/table/na/federal-court-management-statistics/2019/12/31-3.

Therefore, to the extent that these figures represent a slower docket in the Northern District of

New York, this consideration would favor a transfer. Defendants do not allege sufficient facts to




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convince this Court that the Southern District would be unable to provide an expedient and just

disposition of the matter.3 Rather, the facts presented weigh in favor of transfer.

               i. Interests of justice

       "'[C]ourts consistently recognize that the existence of a related action in the transferee

district is a strong factor to be weighed with regard to judicial economy.'" Wald v. Bank of

America Corp., 856 F. Supp. 2d 545, 550 (E.D.N.Y. 2012) (quoting Williams v. City of New York,

No. 03 Civ. 5342, 2006 WL 399456, *3 (S.D.N.Y. Feb. 21, 2006)). This factor can be "decisive."

Delta Air Lines, Inc. v. Assoc. of Flight Attendants, CWA, 720 F. Supp. 2d 213, 219 (E.D.N.Y.

2010). "There is a strong policy favoring the litigation of related claims in the same tribunal in

order that pretrial discovery can be conducted more efficiently, duplicitous litigation can be

avoided, thereby saving time and expense for both parties and witnesses, and inconsistent results

can be avoided." Delta Air Lines, Inc., 720 F. Supp. 2d at 219 (quoting Wyndham Assocs. v.

Bintliff, 398 F.2d 614, 619 (2d Cir. 1968)). "It is beyond dispute, then, that 'the existence of a

related action in the transferee district' weighs heavily in favor of transfer when considering

judicial economy and the interests of justice." Wald, 856 F. Supp. 2d at 550 (quoting Delta Air

Lines, Inc., 720 F. Supp. 2d at 219).

       "It is well-settled that transfer under § 1404(a) is generally in the interest of justice if a

decision not to transfer would lead to courts rendering inconsistent judgments on the same issue."

Convergence Technologies (USA), LLC v. Microloops Corp., 711 F. Supp. 2d 626, 642 (E.D.V.A.

2010). As the Supreme Court has noted, "[t]o permit a situation in which two cases involving

precisely the same issues are simultaneously pending in different District Courts leads to the


       3
          In addition, "no choice of law problem is created, because both districts are in the same
state." See Fairfax Dental (Ireland) Ltd. v. S.J. Filhol Ltd., 645 F. Supp. 89, 92 (E.D.N.Y. 1986).

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wastefulness of time, energy and money that § 1404(a) was designed to prevent." Cont'l Grain

Co. v. Barge FBL–585, 364 U.S. 19, 26 (1960); accord Va. Beach v. Roanoke River Basin Ass'n,

776 F.2d 484, 489 (4th Cir. 1985) ("Transfer and consolidation would also advance the

economical resolution of the controversy over the permits. The parties would be able to litigate in

one court the same issues that were the subject matter of actions instituted in two courts").

       Both this case and SDNY Burke arise from the same underlying facts, as they stem from

the same initial filing; furthermore, the claims in both actions arise from the same underlying

claims as the Puello action (indeed, Defendants referred to this comparison in their motion to

dismiss as "duplicative claims [that] should be barred by the Second Circuit's first-filed rule in

light of the nearly identical Puello litigation"). Dkt. No. 19-1 at 2. These facts include

"Defendants control over Plaintiffs' work, the number of hours that each Plaintiff worked, and

dozens of other issues relevant to Plaintiffs' state and federal overtime claims." Dkt. No. 56 at 7.

For example, the parties could "be required to engage in written discovery and conduct

depositions related to Plaintiffs' work over the past three years for their FLSA claims, and then

repeat this same process related to Plaintiffs' work in 2014 and 2015 for the purposes of their state

law claims." Dkt. No. 53-1 at 6.

       Simply put, the action currently pending in the Southern District is based on exceedingly

"similar allegations and name[s] some of the same defendants as the present action." In re Collins

& Aikman Corp. Secs. Litig., 438 F. Supp. 2d 392, 398 (S.D.N.Y. 2006). "The substantial factual

overlap between the cases makes it 'highly likely that [parties in both actions] will need access to

the same witnesses and proof,' Jones v. City of New York, No. 11-cv-5042, 2012 WL 716890, *2

(E.D.N.Y. Mar. 5, 2012), which heavily favors transfer of this case in the interests of judicial

economy so all discovery and factual disputes can be determined by the same court, following

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efficiently coordinated discovery across both actions." Wald, 856 F. Supp. 2d at 550–51 (citing

Collins & Aikman, 438 F. Supp. 2d at 398–99 ("[C]ourts regularly transfer cases such as plaintiff's

where facts and witnesses overlap with cases pending in the transferee district")). "In the same

vein, the interests of justice further counsel in favor of transfer on this point to avoid duplicate

discovery, multiplying costs in time and treasure on parties, counsel, and witness alike." Id. at

551. "If the cases are adjudicated in different venues, undoubtedly witnesses will have to be

deposed and will have to testify twice, two sets of documents will have to be produced, and

judicial resources will have to be allocated to two actions when one court could more efficiently

dispose of the litigation." Cali, 178 F. Supp. 2d at 295.4

       Whether transfer of venue is proper also depends in part on a court's familiarity with

applicable law. The parties do not address this factor, likely because it is neutral as to the issue of

the transfer, as any issues of underlying New York state law and federal law could be competently

addressed by the Court in either District. See J.B. ex rel Benjamin v. Abbott Labs. Inc., No. 12-cv-

385, 2013 WL 452807, *5 (N.D. Ill. Feb. 6, 2013).

       Considering all of the relevant factors, the Court finds that Plaintiffs have met their burden

of establishing that the Southern District of New York is the proper forum for this matter. The

Court believes that SDNY Burke and the current case are sufficiently related that the interests of

justice and judicial economy demand that they be decided in the same forum, by one court

familiar with the various legal and factual issues, and responsible for the resolution of all of them;



       4
         In addition, while Defendants claim that the state of discovery in this action should
prevent transfer to the Southern District of New York as disputes over responses are "close to
being resolved" and dates for depositions are currently being scheduled, see Dkt. No. 55 at 14, the
deposition deadline was recently extended to June 1, 2020, and the discovery cutoff extended to
September 16, 2020. See Text Orders dated May 6, 2020. These extensions were granted, in part,
because of discovery disputes. See id.
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the two matters began as one proceeding and were fragmented into two only after Defendants

moved for dismissal. With the Puello proceeding underway in the Southern District of New

York, which Defendants relied upon in their motion to dismiss before this Court as well as SDNY

Burke, that court is in the best position to sort out the nuanced arguments of the parties, and arrive

at decisions that ensure consistent results in the two cases in the most expedient, efficient, and

economical manner. This Court will not determine the other substantive or procedural matters,

including Plaintiffs' pending motion to dismiss Defendants' counterclaims and third-party claims,

leaving it to the transferee venue for their consideration.

                                          IV. CONCLUSION

          After carefully reviewing the record in this matter, the parties' submissions and the

applicable law, for the above-stated reasons, the Court hereby

          ORDERS that Plaintiffs' motion to transfer venue to the Southern District of New York

(Dkt. No. 53) is GRANTED; and the Court further

          ORDERS Plaintiffs' remaining motions are DENIED without prejudice; and the Court

further

          ORDERS that the Clerk of Court shall electronically transfer this action to the United

States District Court for the Southern District of New York; and the Court further

          ORDERS that the Clerk of the Court shall serve a copy of this Memorandum-Decision

and Order on all parties in accordance with the Local Rules.

IT IS SO ORDERED.

Dated: May 14, 2020
       Albany, New York




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